OPINION — AG — (1) THE WORDS " A FULL AND COMPLETE REPORT " MEAN THAT A DETAILED REPORT MUST BE PUBLISHED UNDER SAID STATUTE (19 O.S.H. 444 — BOARD OF COUNTY COMMISSIONERS SHALL CAUSE TO BE PUBLISHED A FULL AND COMPLETE REPORT OF ALL THEIR OFFICIAL PROCEEDINGS) AND THAT THE PUBLICATION OF ONLY A SUMMARY REPORT WOULD NOT MEET THE REQUIREMENTS OF THE STATUTE. (2) THE WORDS " ALL PROCEEDINGS " MEAN THAT A DETAILED RECORD OF THE OFFICIAL PROCEEDINGS OF THE BOARD OF COUNTY COMMISSIONERS MUST BE RECORDED IN THE BOOK PROVIDED FOR THAT PURPOSE AND THAT A SUMMARY OF THE PROCEEDINGS WOULD NOT SATISFY THE REQUIREMENT OF THE STATUTE. CITE: OPINION NOL NOVEMBER 18, 1953 — BASSETT, 19 O.S.H. 244, OPINION NO. MARCH 7, 1951 — PICKERING (JAMES P. GARRETT)